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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                 Southern District of New York
                                          (State)                                                                                      ☐ Check if this is an
Case number (if known):                                         Chapter      11                                                            amended filing



Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.



1.   Debtor’s Name                               Frontier Communications Corporation


                                                 None.
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          401 Merritt 7                                               50 Main Street, Suite 1000
                                          Number           Street                                     Number          Street


                                                                                                      P.O. Box

                                          Norwalk,                     Connecticut 06851              White Plains,             New York       10606
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Fairfield County
                                          County                                                      Number          Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 https://frontier.com/

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




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Debtor            Frontier Communications Corporation                             Case number (if known)
           Name



                                           A. Check One:
7.   Describe debtor’s business
                                           ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                           ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                           ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                           ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                           ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                           ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           ☒ None of the above

                                           B. Check all that apply:
                                           ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                           ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                           ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                           5172 - Wireless Telecommunications Carriers (except Satellite)

8. Under which chapter of the              Check One:
   Bankruptcy Code is the
   debtor filing?                          ☐ Chapter 7

                                           ☐ Chapter 9

                                           ☒ Chapter 11. Check all that apply:
      A debtor who is a “small                               ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      business debtor” must check                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      the first sub-box. A debtor as                           affiliates) are less than $2,725,625. If this sub-box is selected, attach the most recent
      defined in § 1182(1) who elects                          balance sheet, statement of operations, cash-flow statement, and federal income tax
      to proceed under subchapter V                            return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
      of chapter 11 (whether or not                            1116(1)(B).
      the debtor is a “small business
      debtor”) must check the second                         ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
      sub-box.                                                 liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000
                                                               and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
                                                               selected, attach the most recent balance sheet, statement of operations, cash-flow
                                                               statement, and federal income tax return or if any of these documents do not exist,
                                                               follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             ☐ A plan is being filed with this petition.

                                                             ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).
                                                             ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                               Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                             ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                           ☐ Chapter 12
9. Were prior bankruptcy cases          ☒ No      District                           When                       Case number
   filed by or against the debtor       ☐ Yes.
   within the last 8 years?                       District                           When                       Case number




     Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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    Debtor           Frontier Communications Corporation                                   Case number (if known)
              Name



    10. Are any bankruptcy cases             ☐ No
        pending or being filed by a          ☒ Yes.                                                                       Relationship    Affiliate
                                                          Debtor        See Rider 1
        business partner or an
        affiliate of the debtor?                          District     Southern District of New York                      When            04/14/2020
       List all cases. If more than 1,                                                                                                    MM / DD / YYYY
       attach a separate list.
                                                        Case number, if known
    11. Why is the case filed in this       Check all that apply:
        district?
                                            ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.
                                            ☒    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have         ☒ No.
        possession of any real              ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                      ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                            safety.
                                                            What is the hazard?
                                                      ☐     It needs to be physically secured or protected from the weather.

                                                        ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                             attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                             assets or other options).
                                                      ☐     Other
                                                      Where is the property?
                                                                                             Number          Street



                                                                                             City                                 State      Zip Code

                                                      Is the property insured?
                                                      ☐ No

                                                      ☐ Yes.         Insurance agency

                                                                     Contact name
                                                                     Phone


                     Statistical and administrative information

    13. Debtor’s estimation of             Check one:
        available funds
                                           ☒ Funds will be available for distribution to unsecured creditors.
                                           ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of                ☐     1-49                         ☐       1,000-5,000                     ☐     25,001-50,000
        creditors1                         ☐     50-99                        ☐       5,001-10,000                    ☐     50,001-100,000
                                           ☐     100-199                      ☐       10,001-25,000                   ☒     More than 100,000
                                           ☐     200-999




1
       The estimated number of creditors and estimated amounts of assets, and liabilities, are being listed on a consolidated basis for all Debtor affiliates
       listed on Rider 1, attached hereto.

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Debtor           Frontier Communications Corporation                                 Case number (if known)
          Name



15. Estimated assets                 ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
                                     ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☐   $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☒   $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐   More than $50 billion

16. Estimated liabilities            ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
                                     ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☐   $1,000,000,001-$10 billion
                                     ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☒   $10,000,000,001-$50 billion
                                     ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                 Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on                04/14/2020
                                                                   MM/ DD / YYYY


                                              /s/ Mark D. Nielsen                                                Mark D. Nielsen
                                              Signature of authorized representative of debtor                Printed name

                                                      Executive Vice President, Chief Legal Officer,
                                              Title   and Chief Transaction Officer




18. Signature of attorney                     /s/ Stephen E. Hessler                                         Date            04/14/2020
                                              Signature of attorney for debtor                                               MM/ DD/YYYY



                                              Stephen E. Hessler
                                              Printed name
                                              Kirkland & Ellis LLP
                                              Firm name
                                              601 Lexington Avenue
                                              Number               Street
                                              New York                                                               NY               10022
                                              City                                                                   State              ZIP Code

                                              (212) 446-4800                                                         stephen.hessler@kirkland.com
                                              Contact phone                                                              Email address
                                              4576856                                             NY
                                              Bar number                                          State




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Official Form 201A (12/15)


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                                  )
    In re:                                                                        )   Chapter 11
                                                                                  )
    FRONTIER COMMUNICATIONS                                                       )   Case No. 20-[#####] (RDD)
    CORPORATION,                                                                  )
                                                                                  )
                                  Debtor.                                         )
                                                                                  )
               Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

               1.If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
             number is     CIK# 0000020520

               2.The following financial data is the latest available information and refers to the debtor’s condition on
             February 29, 2020


                  (a)   Total assets                                                  $   17,433,201,422
                  (b)   Total debts (including debts listed in 2.c., below)           $   21,855,602,151
                  (c)   Debt securities held by more than 500 holders
                                                                                                                        Approximate
                                                                                                                        number of
                                                                                                                        holders:
                  secured     ☐    unsecured     ☐    subordinated      ☐     $
                  secured     ☐    unsecured     ☐    subordinated      ☐     $
                  secured     ☐    unsecured     ☐    subordinated      ☐     $
                  secured     ☐    unsecured     ☐    subordinated      ☐     $
                  secured     ☐    unsecured     ☐    subordinated      ☐     $


                  (d)   Number of shares of preferred stock                                                             01
                  (e)   Number of shares of common stock                                                                104,987,947


                 Comments, if any:      Frontier Communications Corporation does not and cannot know the precise number of
             beneficial holders of any of the debt securities it has issued and does not believe that any such securities are held by
             more than 500 holders.


                3.Brief description of debtor’s business:  Frontier Communications Corporation is a publicly held provider of
             telecommunications services and the fourth-largest Incumbent Local Exchange Carrier in the United States, offering a
             broad portfolio of communications services for over 4.1 million consumer, commercial, and wholesale customers.

                4.List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
             securities of debtor:
             BlackRock Inc. (9.30%); Vanguard Group, Inc. (5.83%); Charles Schwab Investment Management (5.75%)




1
      Fifty million shares authorized per the Certificate of Amendment of the Restated Certificate of Incorporation of Frontier Communications Corporation,
      dated July 5, 2017, https://www.sec.gov/Archives/edgar/data/20520/000119312517224772/d394967dex3i.htm.


        Official Form 201A             Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                Southern District of New York
                                           (State)                                                                         ☐ Check if this is an
 Case number (if known):                                      Chapter      11                                                  amended filing


                                                          Rider 1
                           Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor
         On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United States
Bankruptcy Court for the Southern District of New York for relief under chapter 11 of title 11 of the United States Code.
The Debtors have moved for joint administration of these cases under the case number assigned to the chapter 11 case of
Frontier Communications Corporation.

  1.Phone Trends, Inc.                                   34.CTSI, LLC                                  66.Frontier Communications of Oswayo
  2.Frontier Communications Corporation                  35.CU Capital LLC                                River LLC
  3.Citizens Capital Ventures Corp.                      36.CU Wireless Company LLC                    67.Frontier Communications of
  4.Citizens Directory Services                          37.Electric Lightwave NY, LLC                    Pennsylvania, LLC
    Company L.L.C.                                       38.Evans Telephone Holdings, Inc.             68.Frontier Communications of
  5.Citizens Louisiana Accounting                        39.Fairmount Cellular LLC                        Rochester, Inc.
    Company                                              40.Frontier ABC LLC                           69.Frontier Communications of Seneca-
  6.Citizens Newcom Company                              41.Frontier California Inc.                      Gorham, Inc.
  7.Citizens Newtel, LLC                                 42.Frontier Communications -                  70.Frontier Communications of Sylvan
  8.Citizens Pennsylvania Company LLC                       Midland, Inc.                                 Lake, Inc.
  9.Citizens SERP Administration                         43.Frontier Communications - Prairie, Inc.    71.Frontier Communications of the
    Company                                              44.Frontier Communications -                     Carolinas LLC
 10.Citizens Telecom Services                               Schuyler, Inc.                             72.Frontier Communications of the
    Company L.L.C.                                       45.Frontier Communications Corporate             South, LLC
 11.Citizens Telecommunications                             Services Inc.                              73.Frontier Communications of the
    Company of California Inc.                           46.Frontier Communications Northwest             Southwest Inc.
 12.Citizens Telecommunications                             Inc.                                       74.Frontier Communications of
    Company of Idaho                                     47.Frontier Communications of                    Thorntown LLC
 13.Citizens Telecommunications                             America, Inc.                              75.Frontier Communications of
    Company of Illinois                                  48.Frontier Communications of Ausable            Virginia, Inc.
 14.Citizens Telecommunications                             Valley, Inc.                               76.Frontier Communications of
    Company of Minnesota, LLC                            49.Frontier Communications ILEC                  Wisconsin LLC
 15.Citizens Telecommunications                             Holdings LLC                               77.Frontier Communications Online and
    Company of Montana                                   50.Frontier Communications of                    Long Distance Inc.
 16.Citizens Telecommunications                             Breezewood, LLC                            78.Frontier Communications Services Inc.
    Company of Nebraska                                  51.Frontier Communications of                 79.Frontier Directory Services
 17.Citizens Telecommunications                             Canton, LLC                                   Company, LLC
    Company of Nebraska LLC                              52.Frontier Communications of                 80.Frontier Florida LLC
 18.Citizens Telecommunications                             Delaware, Inc.                             81.Frontier Infoservices Inc.
    Company of Nevada                                    53.Frontier Communications of                 82.Frontier Midstates Inc.
 19.Citizens Telecommunications                             Depue, Inc.                                83.Frontier Mobile LLC
    Company of New York, Inc.                            54.Frontier Communications of                 84.Frontier North Inc.
 20.Citizens Telecommunications                             Georgia LLC                                85.Frontier Security Company
    Company of Oregon                                    55.Frontier Communications of                 86.Frontier Services Corp.
 21.Citizens Telecommunications                             Illinois, Inc.                             87.Frontier Southwest Incorporated
    Company of Tennessee L.L.C.                          56.Frontier Communications of                 88.Frontier Subsidiary Telco LLC
 22.Citizens Telecommunications                             Indiana LLC                                89.Frontier Techserv, Inc.
    Company of the White Mountains, Inc.                 57.Frontier Communications of Iowa, LLC       90.Frontier Telephone of Rochester, Inc.
 23.Citizens Telecommunications                          58.Frontier Communications of                 91.Frontier Video Services Inc.
    Company of Utah                                         Lakeside, Inc.                             92.Frontier West Virginia Inc.
 24.Citizens Telecommunications                          59.Frontier Communications of                 93.GVN Services
    Company of West Virginia                                Lakewood, LLC                              94.N C C Systems, Inc.
 25.Citizens Utilities Capital L.P.                      60.Frontier Communications of                 95.Navajo Communications Co., Inc.
 26.Citizens Utilities Rural Company, Inc.                  Michigan, Inc.                             96.Newco West Holdings LLC
 27.Commonwealth Communication, LLC                      61.Frontier Communications of                 97.Ogden Telephone Company
 28.Commonwealth Telephone                                  Minnesota, Inc.                            98.Rhinelander Telecommunications, LLC
    Company LLC                                          62.Frontier Communications of                 99.Rib Lake Cellular for Wisconsin
 29.Commonwealth Telephone                                  Mississippi LLC                               RSA #3, Inc.
    Enterprises, LLC                                     63.Frontier Communications of                100.Rib Lake Telecom, Inc.
 30.Commonwealth Telephone                                  Mt. Pulaski, Inc.                         101.SNET America, Inc.
    Management Services, Inc.                            64.Frontier Communications of                102.TCI Technology & Equipment LLC
 31.CTE Holdings, Inc.                                      New York, Inc.                            103.The Southern New England
 32.CTE Services, Inc.                                   65.Frontier Communications of Orion, Inc.        Telephone Company
 33.CTE Telecom, LLC                                                                                  104.Total Communications, Inc.

                                                                            Rider 1
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        Fill in this information to identify the case:

        Debtor Name: Frontier Communications Corporation, et al.

        United States Bankruptcy Court for the: Southern District of New York                                                             Check if this is an amended filing

        Case number (if known): __________________________
Fill in this information to identify the case:



    Official Form 204
    Chapter 11 or Chapter 9 Cases: Amended List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not InsidersA 12/15

    A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
    debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
    include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
    among the holders of the 50 largest unsecured claims.

     Name of creditor and                    Name, telephone number                    Nature of               Indicate if        Amount of claim
     complete mailing address,               and email address of                      claim                    claim is          If the claim is fully unsecured, fill in only
                                                                                       (for example,                              unsecured claim amount. If claim is
     including zip code                      creditor contact                                                 contingent,
                                                                                       trade debts,                               partially secured, fill in total claim amount
                                                                                                             unliquidated,
                                                                                       bank loans,                                and deduction for value of collateral or
                                                                                                              or disputed
                                                                                       professional                               setoff to calculate unsecured claim.
                                                                                       services, and
                                                                                                                                  Total              Deduction            Unsecured
                                                                                       government
                                                                                                                                  claim, if          for value of         claim
                                                                                       contracts)
                                                                                                                                  partially          collateral or
                                                                                                                                  secured            setoff

                                            BNY Mellon as Agent for 11.000%
    BNY Mellon as Agent for 11.000%
                                            Senior Notes due 2025
    Senior Notes due 2025
                                            Ray O'Neil
    Ray O'Neil                                                                            Unsecured
1                                           Phone: 412-236-1201                                                                                                          $3,600,000,000.00
    500 Ross St.                                                                          Noteholder
                                            Fax: 412-234-7535
    12th Floor
                                            Email:
    Pittsburgh, PA 15262
                                            raymond.k.oneil@bnymellon.com


                                            BNY Mellon as Agent for 10.500%
    BNY Mellon as Agent for 10.500%
                                            Senior Notes due 2022
    Senior Notes due 2022
                                            Ray O'Neil
    Ray O'Neil                                                                            Unsecured
2                                           Phone: 412-236-1201                                                                                                          $2,187,537,000.00
    500 Ross St.                                                                          Noteholder
                                            Fax: 412-234-7535
    12th Floor
                                            Email:
    Pittsburgh, PA 15262
                                            raymond.k.oneil@bnymellon.com


                                            BNY Mellon as Agent for 9.000% Senior
    BNY Mellon as Agent for 9.000%
                                            Notes due 2031
    Senior Notes due 2031
                                            Ray O'Neil
    Ray O'Neil                                                                            Unsecured
3                                           Phone: 412-236-1201                                                                                                           $945,325,000.00
    500 Ross St.                                                                          Noteholder
                                            Fax: 412-234-7535
    12th Floor
                                            Email:
    Pittsburgh, PA 15262
                                            raymond.k.oneil@bnymellon.com




A
   On a consolidated basis. The information herein shall not constitute an admission of liability by, nor is it binding on, any Debtors with respect to all or any portion of the claims
listed below. Moreover, nothing herein shall affect any Debtor’s right to challenge the amount or characterization of any claim at a later date.




Official Form 204                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
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Debtor Frontier Communications Corporation, et al.                                                    Case number (if known) ____________
                 Name

    Name of creditor and                 Name, telephone number                   Nature of         Indicate if   Amount of claim
    complete mailing address,            and email address of                     claim              claim is     If the claim is fully unsecured, fill in only
                                                                                  (for example,                   unsecured claim amount. If claim is
    including zip code                   creditor contact                                          contingent,
                                                                                  trade debts,                    partially secured, fill in total claim amount
                                                                                                  unliquidated,
                                                                                  bank loans,                     and deduction for value of collateral or
                                                                                                   or disputed
                                                                                  professional                    setoff to calculate unsecured claim.
                                                                                  services, and
                                                                                                                  Total           Deduction        Unsecured
                                                                                  government
                                                                                                                  claim, if       for value of     claim
                                                                                  contracts)
                                                                                                                  partially       collateral or
                                                                                                                  secured         setoff
                                         BNY Mellon as Agent for 7.125% Senior
    BNY Mellon as Agent for 7.125%
                                         Notes due 2023
    Senior Notes due 2023
                                         Ray O'Neil
    Ray O'Neil                                                                      Unsecured
4                                        Phone: 412-236-1201                                                                                       $850,000,000.00
    500 Ross St.                                                                    Noteholder
                                         Fax: 412-234-7535
    12th Floor
                                         Email:
    Pittsburgh, PA 15262
                                         raymond.k.oneil@bnymellon.com

                                         BNY Mellon as Agent for 6.875% Senior
    BNY Mellon as Agent for 6.875%
                                         Notes due 2025
    Senior Notes due 2025
                                         Ray O'Neil
    Ray O'Neil                                                                      Unsecured
5                                        Phone: 412-236-1201                                                                                       $775,000,000.00
    500 Ross St.                                                                    Noteholder
                                         Fax: 412-234-7535
    12th Floor
                                         Email:
    Pittsburgh, PA 15262
                                         raymond.k.oneil@bnymellon.com

                                         BNY Mellon as Agent for 7.625% Senior
    BNY Mellon as Agent for 7.625%
                                         Notes due 2024
    Senior Notes due 2024
                                         Ray O'Neil
    Ray O'Neil                                                                      Unsecured
6                                        Phone: 412-236-1201                                                                                       $750,000,000.00
    500 Ross St.                                                                    Noteholder
                                         Fax: 412-234-7535
    12th Floor
                                         Email:
    Pittsburgh, PA 15262
                                         raymond.k.oneil@bnymellon.com

                                         BNY Mellon as Agent for 8.750% Senior
    BNY Mellon as Agent for 8.750%
                                         Notes due 2022
    Senior Notes due 2022
                                         Ray O'Neil
    Ray O'Neil                                                                      Unsecured
7                                        Phone: 412-236-1201                                                                                       $500,000,000.00
    500 Ross St.                                                                    Noteholder
                                         Fax: 412-234-7535
    12th Floor
                                         Email:
    Pittsburgh, PA 15262
                                         raymond.k.oneil@bnymellon.com

                                         BNY Mellon as Agent for 7.875% Senior
    BNY Mellon as Agent for 7.875%
                                         Notes due 2027
    Senior Notes due 2027
                                         Ray O'Neil
    Ray O'Neil                                                                      Unsecured
8                                        Phone: 412-236-1201                                                                                       $345,858,000.00
    500 Ross St.                                                                    Noteholder
                                         Fax: 412-234-7535
    12th Floor
                                         Email:
    Pittsburgh, PA 15262
                                         raymond.k.oneil@bnymellon.com
    US Bank as Agent for 6.860%          US Bank as Agent for 6.860% Subsidiary
    Subsidiary (FTR FL) Debentures due   (FTR FL) Debentures due 2028
    2028                                 Laura Moran
    Laura Moran                          Phone:
    1 Federal St., EX-MA-FED             Fax:
                                                                                    Unsecured
9   Boston MA 02110                      Email: laura.moran@usbank.com                                                                             $300,000,000.00
                                                                                    Noteholder
    Clark Whitmore                       Clark Whitmore
    Maslon LLP                           Phone: 612-672-8335
    90 S. 7th St., Suite 3300            Fax: 612-642-8335
    Minneapolis, MN 55402                Email: clark.whitmore@maslon.com
                                         BNY Mellon as Agent for 6.250% Senior
   BNY Mellon as Agent for 6.250%
                                         Notes due 2021
   Senior Notes due 2021
                                         Ray O'Neil
   Ray O'Neil                                                                       Unsecured
10                                       Phone: 412-236-1201                                                                                       $219,721,000.00
   500 Ross St.                                                                     Noteholder
                                         Fax: 412-234-7535
   12th Floor
                                         Email:
   Pittsburgh, PA 15262
                                         raymond.k.oneil@bnymellon.com

Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
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Debtor Frontier Communications Corporation, et al.                                                  Case number (if known) ____________
                Name

    Name of creditor and               Name, telephone number                   Nature of         Indicate if   Amount of claim
    complete mailing address,          and email address of                     claim              claim is     If the claim is fully unsecured, fill in only
                                                                                (for example,                   unsecured claim amount. If claim is
    including zip code                 creditor contact                                          contingent,
                                                                                trade debts,                    partially secured, fill in total claim amount
                                                                                                unliquidated,
                                                                                bank loans,                     and deduction for value of collateral or
                                                                                                 or disputed
                                                                                professional                    setoff to calculate unsecured claim.
                                                                                services, and
                                                                                                                Total           Deduction        Unsecured
                                                                                government
                                                                                                                claim, if       for value of     claim
                                                                                contracts)
                                                                                                                partially       collateral or
                                                                                                                secured         setoff
   US Bank as Agent for 6.750%
                                       US Bank as Agent for 6.750% Subsidiary
   Subsidiary (FTR CA) Debenture due
                                       (FTR CA) Debenture due 2027
   2027
                                       Ralph Jones                                Unsecured
11 Ralph Jones                                                                                                                                   $200,000,000.00
                                       Phone: 215-761-9314                        Noteholder
   Two Liberty Place
                                       Fax:
   50 South 16th Street, Suite 2000
                                       Email: Ralph.Jones@usbank.com
   Philadelphia, PA 19102
   US Bank as Agent for 6.730%         US Bank as Agent for 6.730% Subsidiary
   Subsidiary (FTR North) Debentures   (FTR North) Debentures due 2028
   due 2028                            Laura Moran
   Laura Moran                         Phone:
   1 Federal St., EX-MA-FED            Fax:
                                                                                  Unsecured
12 Boston MA 02110                     Email: laura.moran@usbank.com                                                                             $200,000,000.00
                                                                                  Noteholder
   Clark Whitmore                      Clark Whitmore
   Maslon LLP                          Phone: 612-672-8335
   90 S. 7th St., Suite 3300           Fax: 612-642-8335
   Minneapolis, MN 55402               Email: clark.whitmore@maslon.com
                                       BNY Mellon as Agent for 7.050%
   BNY Mellon as Agent for 7.050%
                                       Debentures due 2046
   Debentures due 2046
                                       Ray O'Neil
   Ray O'Neil                                                                     Unsecured
13                                     Phone: 412-236-1201                                                                                       $193,500,000.00
   500 Ross St.                                                                   Noteholder
                                       Fax: 412-234-7535
   12th Floor
                                       Email:
   Pittsburgh, PA 15262
                                       raymond.k.oneil@bnymellon.com

                                       BNY Mellon as Agent for 8.500% Senior
   BNY Mellon as Agent for 8.500%
                                       Notes due 2020
   Senior Notes due 2020
                                       Ray O'Neil
   Ray O'Neil                                                                     Unsecured
14                                     Phone: 412-236-1201                                                                                       $172,087,000.00
   500 Ross St.                                                                   Noteholder
                                       Fax: 412-234-7535
   12th Floor
                                       Email:
   Pittsburgh, PA 15262
                                       raymond.k.oneil@bnymellon.com

                                       BNY Mellon as Agent for 7.000%
   BNY Mellon as Agent for 7.000%
                                       Debentures due 2025
   Debentures due 2025
                                       Ray O'Neil
   Ray O'Neil                                                                     Unsecured
15                                     Phone: 412-236-1201                                                                                       $138,000,000.00
   500 Ross St.                                                                   Noteholder
                                       Fax: 412-234-7535
   12th Floor
                                       Email:
   Pittsburgh, PA 15262
                                       raymond.k.oneil@bnymellon.com

                                       BNY Mellon as Agent for 7.450%
   BNY Mellon as Agent for 7.450%
                                       Debentures due 2035
   Debentures due 2035
                                       Ray O'Neil
   Ray O'Neil                                                                     Unsecured
16                                     Phone: 412-236-1201                                                                                       $125,000,000.00
   500 Ross St.                                                                   Noteholder
                                       Fax: 412-234-7535
   12th Floor
                                       Email:
   Pittsburgh, PA 15262
                                       raymond.k.oneil@bnymellon.com

                                       BNY Mellon as Agent for 9.250% Senior
   BNY Mellon as Agent for 9.250%
                                       Notes due 2021
   Senior Notes due 2021
                                       Ray O'Neil
   Ray O'Neil                                                                     Unsecured
17                                     Phone: 412-236-1201                                                                                        $89,269,000.00
   500 Ross St.                                                                   Noteholder
                                       Fax: 412-234-7535
   12th Floor
                                       Email:
   Pittsburgh, PA 15262
                                       raymond.k.oneil@bnymellon.com

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Debtor Frontier Communications Corporation, et al.                                                      Case number (if known) ____________
                 Name

    Name of creditor and                   Name, telephone number                   Nature of         Indicate if   Amount of claim
    complete mailing address,              and email address of                     claim              claim is     If the claim is fully unsecured, fill in only
                                                                                    (for example,                   unsecured claim amount. If claim is
    including zip code                     creditor contact                                          contingent,
                                                                                    trade debts,                    partially secured, fill in total claim amount
                                                                                                    unliquidated,
                                                                                    bank loans,                     and deduction for value of collateral or
                                                                                                     or disputed
                                                                                    professional                    setoff to calculate unsecured claim.
                                                                                    services, and
                                                                                                                    Total           Deduction        Unsecured
                                                                                    government
                                                                                                                    claim, if       for value of     claim
                                                                                    contracts)
                                                                                                                    partially       collateral or
                                                                                                                    secured         setoff
                                           BNY Mellon as Agent for 8.875% Senior
   BNY Mellon as Agent for 8.875%
                                           Notes due 2020
   Senior Notes due 2020
                                           Ray O'Neil
   Ray O'Neil                                                                         Unsecured
18                                         Phone: 412-236-1201                                                                                        $54,643,000.00
   500 Ross St.                                                                       Noteholder
                                           Fax: 412-234-7535
   12th Floor
                                           Email:
   Pittsburgh, PA 15262
                                           raymond.k.oneil@bnymellon.com

   US Bank as Agent for 8.400%
                                           US Bank as Agent for 8.400% Subsidiary
   Subsidiary (FTR WV) Debenture due
                                           (FTR WV) Debenture due 2029
   2029
                                           Ralph Jones                                Unsecured
19 Ralph Jones                                                                                                                                        $50,000,000.00
                                           Phone: 215-761-9314                        Noteholder
   Two Liberty Place
                                           Fax:
   50 South 16th Street, Suite 2000
                                           Email: Ralph.Jones@usbank.com
   Philadelphia, PA 19102


                                           PeopleScout MSP LLC
   PeopleScout MSP LLC
                                           Ruth Baehr
   Ruth Baehr
20                                         Phone: 260-436-3802                       Trade Vendor                                                      $5,307,235.75
   32487 Collection Drive
                                           Fax:
   Chicago, IL 60693-0487
                                           Email: RBAEHR@PEOPLESCOUT.COM


                                           Plaintiffs of California Wage & Hour
                                           Class Action
                                           Peter R. Dion-Kindem
    Plaintiffs of California Wage & Hour   Phone: 818-883-4900
    Class Action                           Fax: 838-883-4902
    Peter R. Dion-Kindem                   Email: Peter@dion-kindemlaw.com
    2945 Townsgate Rd., Suite 200
    Westlake Village, CA 91361             Lonnie C. Blanchard
                                           Phone: 213–599-8255
   Lonnie C. Blanchard                     Fax: 213-402-3949
   3579 East Foothill Blvd., Suite 338     Email: lonnieblanchard@gmail.com           Litigation/
21                                                                                                                                                     $4,700,000.00
   Pasadena, CA 91107                                                                 Settlement
                                           Andrew Sokolowski
    Andrew Sokolowski                      Phone: 310-531-1900
    1230 Rosecrans Ave., Suite 200         Fax: 310-531-1901
    Manhattan Beach, CA 90266              Email:
                                           asokolowski@maternlawgroup.com
    Ryan Crist
    43364 10th Street West                 Ryan Crist
    Lancaster, CA 93934                    Phone: 661-949-2495
                                           Fax: 661-949-7524
                                           Email: Rcrist@parrisslawyers.com


                                           AT&T
   AT&T
                                           Sally Ann Thomas
   Sally Ann Thomas
22                                         Phone: 312-369-9119                       Trade Vendor                                                      $2,618,959.39
   220 Wisconsin Ave Flr 2
                                           Fax:
   Waukesha, WI 53186
                                           Email: SALLYANN.THOMAS@ATT.COM




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Debtor Frontier Communications Corporation, et al.                                              Case number (if known) ____________
                Name

     Name of creditor and               Name, telephone number              Nature of         Indicate if   Amount of claim
     complete mailing address,          and email address of                claim              claim is     If the claim is fully unsecured, fill in only
                                                                            (for example,                   unsecured claim amount. If claim is
     including zip code                 creditor contact                                     contingent,
                                                                            trade debts,                    partially secured, fill in total claim amount
                                                                                            unliquidated,
                                                                            bank loans,                     and deduction for value of collateral or
                                                                                             or disputed
                                                                            professional                    setoff to calculate unsecured claim.
                                                                            services, and
                                                                                                            Total           Deduction        Unsecured
                                                                            government
                                                                                                            claim, if       for value of     claim
                                                                            contracts)
                                                                                                            partially       collateral or
                                                                                                            secured         setoff
                                        Broadridge Customer Comm LLC
                                        AR
     Broadridge Customer Comm LLC
                                        Phone: 631-254-7422
     AR
23                                      Fax:                                 Trade Vendor                                                      $2,190,361.12
     5516 Collections Center Dr
                                        Email:
     Chicago, IL 60693-0055
                                        BRCC.REMITTANCE@BROADRIDGE.CO
                                        M


                                        USIC Locating Services LLC
   USIC Locating Services LLC
                                        Elisabeth Owen
   Elisabeth Owen
                                        Phone: 317-810-8256
24 Premier Services LLC                                                      Trade Vendor                                                      $2,130,756.22
                                        Fax: 317-575-7881
   PO Box 713359
                                        Email:
   Cincinnati, OH 45271
                                        ACCOUNTSRECEIVABLE@USICLLC.COM


                                        Anixter Inc
   Anixter Inc
                                        Amelia Kelly
   Amelia Kelly
                                        Phone: 678-546-2769
25 Expense                                                                   Trade Vendor                                                      $1,811,022.41
                                        Fax:
   PO Box 278
                                        Email:
   Morton Grove, IL 60053-0278
                                        CASHDEPARTMENT@ANIXTER.COM


                                        BNY Mellon as Agent for 6.800%
   BNY Mellon as Agent for 6.800%
                                        Debentures Due 2026
   Debentures Due 2026
                                        Ray O'Neil
   Ray O'Neil                                                                 Unsecured
26                                      Phone: 412-236-1201                                                                                    $1,739,000.00
   500 Ross St.                                                               Noteholder
                                        Fax: 412-234-7535
   12th Floor
                                        Email:
   Pittsburgh, PA 15262
                                        raymond.k.oneil@bnymellon.com


                                        Nokia of America Corporation
   Nokia of America Corporation
                                        Selina Siu
   Selina Siu
                                        Phone: 613-784-3533
27 PO Box 911476                                                             Trade Vendor                                                      $1,454,414.05
                                        Fax: +358 10 44 81 002
   Accounts Receivable
                                        Email:
   Dallas, TX 75391-1476
                                        PANKAJ.9.KUMAR.EXT@NOKIA.COM



                                        OneSupport
   OneSupport
                                        Ryan Lommel
   Ryan Lommel
28                                      Phone: 800-580-3355                  Trade Vendor                                                      $1,345,491.53
   PO Box 2479
                                        Fax:
   San Marcos, TX 78667-2479
                                        Email: Ryan.lommel@onesupport.com




                                        Contec LLC
   Contec LLC
                                        Bibi Ramoutar
   Bibi Ramoutar
29                                      Phone: 518-831-1466                  Trade Vendor                                                      $1,239,634.02
   1011 State St
                                        Fax: 518-382-8452
   Schenectady, NY 12307
                                        Email: BRAMOUTAR@GOCONTEC.COM




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Debtor Frontier Communications Corporation, et al.                                             Case number (if known) ____________
                Name

    Name of creditor and                Name, telephone number           Nature of           Indicate if   Amount of claim
    complete mailing address,           and email address of             claim                claim is     If the claim is fully unsecured, fill in only
                                                                         (for example,                     unsecured claim amount. If claim is
    including zip code                  creditor contact                                    contingent,
                                                                         trade debts,                      partially secured, fill in total claim amount
                                                                                           unliquidated,
                                                                         bank loans,                       and deduction for value of collateral or
                                                                                            or disputed
                                                                         professional                      setoff to calculate unsecured claim.
                                                                         services, and
                                                                                                           Total            Deduction       Unsecured
                                                                         government
                                                                                                           claim, if        for value of    claim
                                                                         contracts)
                                                                                                           partially        collateral or
                                                                                                           secured          setoff

                                        System One Holdings LLC
   System One Holdings LLC              Michelle Banville
   Michelle Banville                    Phone: 207-482-7017
30                                                                         Trade Vendor                                                       $990,021.72
   PO Box 644722                        Fax: 412-995-1901
   Pittsburgh, PA 15264-4722            Email:
                                        MBANVILLE@MOUNTAINLTD.COM



                                        Dixon Schwabl Advertising Inc
   Dixon Schwabl Advertising Inc
                                        Judy Mcdade
   Judy Mcdade
31                                      Phone: 585-899-3228                Trade Vendor                                                       $966,191.97
   1595 Moseley Rd
                                        Fax: 585-383-1661
   Victor, NY 14564
                                        Email: JUDY@DIXONSCHWABL.COM



                                        F Secure Inc
   F Secure Inc                         Kelly Sheppard
   Kelly Sheppard                       Phone: 908-432-9934
32                                                                         Trade Vendor                                                       $900,827.68
   25 Independence Blvd, Ste 203        Fax: 908 935 0560
   Warren, NJ 07059                     Email: KELLY.SHEPPARD@F-
                                        SECURE.COM


                                        Scansource Catalyst
   Scansource Catalyst
                                        Damien Means
   Damien Means
                                        Phone: 864-286-4406
33 Attn:J Guardado Or A Hogan                                              Trade Vendor                                                       $878,818.09
                                        Fax: 864-288-5515
   250 Scientific Dr Ste 300
                                        Email:
   Norcross, GA 30092
                                        DAMIEN.MEANS@SCANSOURCE.COM


                                        Coriant North America Inc
   Coriant North America Inc            Melanie Ivanic
   Melanie Ivanic                       Phone: 630-798-4135
34                                                                         Trade Vendor                                                       $854,579.46
   13884 Collections Ctr Dr             Fax:
   Chicago, IL 60693                    Email: CUSTOMER-
                                        REMIT@INFINERA.COM



   Automotive Rentals                   Automotive Rentals
   Mike Blatnic                         Mike Blatnic
35 50 Glenlake Parkway                  Phone: 678-557-7803                Trade Vendor                                                       $839,911.83
   Suite 230                            Fax:
   Atlanta, GA 30328                    Email: MBLATNIC@ARIFLEET.COM



                                        Arris Solutions Inc
   Arris Solutions Inc                  Martha Stoudt
   Martha Stoudt                        Phone: 215-323-1540
36                                                                         Trade Vendor                                                       $818,863.96
   3871 Lakefield Drive                 Fax:
   Suwanee, GA 30024                    Email:
                                        CASHPOSTING@COMMSCOPE.COM




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Debtor Frontier Communications Corporation, et al.                                                Case number (if known) ____________
                 Name

    Name of creditor and                   Name, telephone number             Nature of         Indicate if   Amount of claim
    complete mailing address,              and email address of               claim              claim is     If the claim is fully unsecured, fill in only
                                                                              (for example,                   unsecured claim amount. If claim is
    including zip code                     creditor contact                                    contingent,
                                                                              trade debts,                    partially secured, fill in total claim amount
                                                                                              unliquidated,
                                                                              bank loans,                     and deduction for value of collateral or
                                                                                               or disputed
                                                                              professional                    setoff to calculate unsecured claim.
                                                                              services, and
                                                                                                              Total            Deduction       Unsecured
                                                                              government
                                                                                                              claim, if        for value of    claim
                                                                              contracts)
                                                                                                              partially        collateral or
                                                                                                              secured          setoff

                                           J H Sultenfuss Inc
   J H Sultenfuss Inc                      Michael Sultenfuss
   Michael Sultenfuss                      Phone: 813-871-9600
37                                                                             Trade Vendor                                                      $781,254.20
   4401 W Crest Ave                        Fax: 813-873-1164
   Tampa, FL 33614-6427                    Email:
                                           JHSULTENFUSSGC1@VERIZON.NET



                                           Certified Roofing Applicators
   Certified Roofing Applicators
                                           Ani Kaprielian
   Ani Kaprielian
38                                         Phone: 562-864-8662                 Trade Vendor                                                      $749,950.13
   11914 Front St Ste C
                                           Fax:
   Norwalk, CA 90650
                                           Email: ANIKAPRIELIAN@AOL.COM




                                           Actiontec Electronics Inc
   Actiontec Electronics Inc
                                           Tong Khuc
   Tong Khuc
39                                         Phone: 408-548-4762                 Trade Vendor                                                      $734,268.00
   3301 Olcott St
                                           Fax: 408-541-9003
   Santa Clara, CA 95054
                                           Email: TKHUC@ACTIONTEC.COM




                                           Dura Line Corporation
   Dura Line Corporation
                                           Danielle Barry
   Danielle Barry
40                                         Phone: 865-223-5056                 Trade Vendor                                                      $719,053.28
   4296 Paysphere Cr
                                           Fax: 865-223-5085
   Chicago, IL 60674
                                           Email: AR@DURALINE.COM




   Asurion                                 Asurion
   Amy Bellucci                            Amy Bellucci
41 Rachel Jennings                         Phone:                              Trade Vendor                                                      $703,242.25
   PO Box 111417                           Fax: 615-445-3348
   Nashville, TN 37222-1417                Email: AMY.BELLUCCI@ASURION.COM


                                           BNY Mellon as Agent for 7.680%
   BNY Mellon as Agent for 7.680%
                                           Debentures Due 2034
   Debentures Due 2034
                                           Ray O'Neil
   Ray O'Neil                                                                   Unsecured
42                                         Phone: 412-236-1201                                                                                   $628,000.00
   500 Ross St.                                                                 Noteholder
                                           Fax: 412-234-7535
   12th Floor
                                           Email:
   Pittsburgh, PA 15262
                                           raymond.k.oneil@bnymellon.com


                                           Schindler Elevator Corporation
   Schindler Elevator Corporation
                                           Mark Ahern
   Mark Ahern
43                                         Phone: 312-771-8441                 Trade Vendor                                                      $621,741.17
   PO Box 70433
                                           Fax: 973-397-3619
   Chicago, IL 60673-0433
                                           Email: CASH-APP@US.SCHINDLER.COM




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Debtor Frontier Communications Corporation, et al.                                             Case number (if known) ____________
                Name

    Name of creditor and                Name, telephone number            Nature of          Indicate if   Amount of claim
    complete mailing address,           and email address of              claim               claim is     If the claim is fully unsecured, fill in only
                                                                          (for example,                    unsecured claim amount. If claim is
    including zip code                  creditor contact                                    contingent,
                                                                          trade debts,                     partially secured, fill in total claim amount
                                                                                           unliquidated,
                                                                          bank loans,                      and deduction for value of collateral or
                                                                                            or disputed
                                                                          professional                     setoff to calculate unsecured claim.
                                                                          services, and
                                                                                                           Total            Deduction       Unsecured
                                                                          government
                                                                                                           claim, if        for value of    claim
                                                                          contracts)
                                                                                                           partially        collateral or
                                                                                                           secured          setoff

                                        F J Hubeny Inc
   F J Hubeny Inc
                                        Bill Preece
   Bill Preece
44                                      Phone: 860-628-5509                Trade Vendor                                                       $537,636.48
   PO Box 525
                                        Fax: 860-621-1454
   Milldale, CT 06467
                                        Email: BPREECE@FJHUBENY.COM




                                        Custom Janitorial Maint Corp
   Custom Janitorial Maint Corp
                                        Richard Sanchez
   Richard Sanchez
45                                      Phone: 805-486-8626                Trade Vendor                                                       $485,809.00
   PO Box 269
                                        Fax: 805-981-9076
   Port Hueneme, CA 93044-0269
                                        Email: RICHARDCUSJAN269@AOL.COM



                                        Group O Inc
   Group O Inc                          Darla Zrostlik
   Darla Zrostlik                       Phone: 309-736-8742
46                                                                         Trade Vendor                                                       $479,854.04
   PO Box 860146                        Fax: 309-736-8301
   Minneapolis, MN 55486-0146           Email:
                                        GROUPOACCOUNTING@GROUPO.COM



                                        AT&T Mobility II LLC
   AT&T Mobility II LLC
                                        Ken Davis
   Ken Davis
47                                      Phone: 205-678-7386                Trade Vendor                                                       $478,048.11
   10640 Sepulveda Bl Unit 1
                                        Fax:
   Mission Hills, CA 91345
                                        Email: KEVIN.DAVIS4@ATT.COM



                                        A To Z Call Center Services LP
   A To Z Call Center Services LP       Brent Riley
   Brent Riley                          Phone: 972-862-4225
48                                                                         Trade Vendor                                                       $477,030.90
   6080 Tennyson Pkwy, Ste 100          Fax:
   Plano, TX 75024                      Email:
                                        ARGROUP@THECMIGROUP.COM


                                        Mitel Networks Inc
                                        Jessica Mcmannis
   Mitel Networks Inc
                                        Phone: 775-954-1244
   Jessica Mcmannis
49                                      Fax: 800-814-5860                  Trade Vendor                                                       $469,100.52
   885 Trademark Drive
                                        Email:
   Reno, NV 89521-5943
                                        WHOLESALECOLLECTIONS@MITEL.CO
                                        M


                                        Track Utilities LLC
   Track Utilities LLC                  Brenda Anderson
   Brenda Anderson                      Phone: 208-362-1780
50                                                                         Trade Vendor                                                       $431,042.78
   441 W Corporate Dr                   Fax: 208-362-1788
   Meridian, ID 83642                   Email:
                                        REMIT@TRACKUTILITIESLLC.COM




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    FRONTIER COMMUNICATIONS                                          )   Case No. 20-[#####] (RDD)
    CORPORATION,                                                     )
                                                                     )
                              Debtor.                                )
                                                                     )

                               LIST OF EQUITY SECURITY HOLDERS1

             Debtor                Equity Holders              Address of Equity Holder             Percentage of
                                                                                                    Equity Held
    Frontier
                                                                   55 East 52nd Street
    Communications              BlackRock, Inc.                                                          9.30%
                                                                  New York, NY 10055
    Corporation
    Frontier
                                                                    PO Box 2600
    Communications              Vanguard Group Inc.                                                      5.83%
                                                              V26 Valley Forge, PA 19482
    Corporation
    Frontier                    Charles Schwab
                                                                    211 Main Street
    Communications              Investment                                                               5.75%
                                                                San Francisco, CA 94105
    Corporation                 Management




1
      This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of
      Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the chapter 11 case.
      By the Debtors’ Motion for Entry of an Order (I) Extending Time to File Schedules of Assets and Liabilities,
      Schedules of Current Income and Expenditures, Schedules of Executory Contracts and Unexpired Leases, and
      Statements of Financial Affairs; (II) Waiving Requirements to File Lists of Equity Holders; and (III) Granting
      Related Relief, filed contemporaneously herewith, the debtor is requesting a waiver of the requirement under
      rule 1007 to file a list of all its equity security holders.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                       )
 In re:                                                )   Chapter 11
                                                       )
 FRONTIER COMMUNICATIONS                               )   Case No. 20-[#####] (RDD)
 CORPORATION,                                          )
                                                       )
                       Debtor.                         )
                                                       )

                          CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:

                  Shareholder                      Approximate Percentage of Shares Held

                      N/A                                               N/A
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     Fill in this information to identify the case and this filing:

    Debtor Name           Frontier Communications Corporation

    United States Bankruptcy Court for the:                                       Southern District of New York
                                                                                              (State)
    Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                              12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

              Declaration and signature

           I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
           partnership; or another individual serving as a representative of the debtor in this case.
           I have examined the information in the documents checked below and I have a reasonable belief that the information is true
           and correct:
       ☐      Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
       ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
       ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
       ☐      Schedule H: Codebtors (Official Form 206H)
       ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
       ☐      Amended Schedule
       ☒      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
              (Official Form 204)1
       ☒
              Other document that requires a declaration                      List of Equity Security Holders, Corporate Ownership
              Statement
           I declare under penalty of perjury that the foregoing is true and correct.

      Executed on                        04/14/2020                                 /s/ Mark D. Nielsen
                                         MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                   Mark D. Nielsen
                                                                                   Printed name

                                                                                   Executive Vice President, Chief Legal Officer,
                                                                                   and Chief Transaction Officer
                                                                                   Position or relationship to debtor

Official Form 202                Declaration Under Penalty of Perjury for Non-Individual Debtors



1
     In lieu of filing an individual list of the debtor’s top twenty unsecured, non-insider creditors as set forth on Official Form 204, the debtor and
     its affiliates have requested authority to file a consolidated list of their top fifty unsecured, non-insider creditors as more fully set forth in the
     Debtors’ Motion for Entry of an Order (I) Extending Time to File Schedules of Assets and Liabilities, Schedules of Current Income and
     Expenditures, Schedules of Executory Contracts and Unexpired Leases, and Statements of Financial Affairs; (II) Waiving Requirements to
     File Lists of Equity Holders; and (III) Granting Related Relief.
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                                      OFFICER’S CERTIFICATE

                                              April 14, 2020

The undersigned, solely in her capacity as the Secretary of each of the entities listed on Schedule 1 through
Schedule 3 and the Assistant Secretary of the entity listed on Schedule 4, in each case as attached to
Exhibit A attached hereto (each, a “Company,” and collectively, the “Companies”), solely in the name and
on behalf of each Company, and not in her individual or any other capacity, and without personal liability,
hereby certifies that attached hereto as Exhibit A is a true, correct, and complete copy of the resolutions
duly adopted by the board of directors, board of managers, members, and sole member (each, a “Board,”
and collectively, the “Boards”), as applicable, of each Company. Such resolutions are the only resolutions
relating thereto and have not been amended, rescinded, modified, or revoked since the date of adoption
thereof, and are in full force and effect on the date hereof.

                                         [Signature Page Follows]
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                                    Exhibit A
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                                                                                  EXECUTION VERSION


                    PROPOSED OMNIBUS RESOLUTIONS OF THE
           BOARDS OF THE COMPANIES LISTED ON THE SCHEDULES HERETO

                                              April 14, 2020

         The members of the board of directors, members of the board of managers, members, and sole
member (each, a “Board,” and collectively, the “Boards”), as applicable, of each entity listed on Schedule l
through Schedule 4 attached hereto (each, a “Company” and collectively, the “Companies”), hereby take
the following actions and adopt the following resolutions, as applicable, pursuant to the bylaws, operating
agreement, limited partnership agreement, limited liability company agreement, or equivalent document,
as applicable, of each Company and the applicable laws of the jurisdiction in which such Company is
organized:

          WHEREAS, on April 10, 2020, the respective Board of each Company approved the entry of such
Company into a restructuring support agreement (the “RSA”) by and among (i) each Company and
(ii) certain senior unsecured noteholders of Frontier Communications Corporation, a Delaware corporation
(“Frontier”), which contemplates a comprehensive restructuring of each Company on the terms set forth
therein (the “Restructuring Transactions”);

         WHEREAS, the RSA contemplates, among other things, (i) the incurrence of debtor-in-possession
financing obligations (the “DIP Financing”), (ii) the filing of a voluntary petition for relief by each
Company (each, a “Chapter 11 Case,” and collectively, the “Chapter 11 Cases”), and (iii) the entry into a
credit agreement for an exit facility upon emergence from the Chapter 11 Cases (the “Exit Financing”);

        WHEREAS, the respective members of each Company’s management team and its advisors have
apprised such Board of the key terms of the RSA, the DIP Financing, and the Exit Financing, and such
Board has had the opportunity to review the forms or key terms of such documents;

        WHEREAS, the respective Board of each Company considered presentations by management and
the financial and legal advisors of such Company regarding the liabilities and liquidity situation of such
Company, the strategic alternatives available, and the effect of the foregoing on such Company’s businesses
and the businesses of such Company’s subsidiaries (if any) and affiliates;

         WHEREAS, the respective Board of each Company has had the opportunity to consult with
management and the financial and legal advisors of such Company and to fully consider each of the strategic
alternatives available to such Company; and

       WHEREAS, the respective Board of each Company has determined, in the business judgment of
such Board, that the following resolutions, as applicable, are advisable and in the best interests of such
Company, its subsidiaries (if any), its creditors, and other parties-in-interest.

                                            Chapter 11 Filing

        NOW, THEREFORE, BE IT:

         RESOLVED, that in the business judgment of the respective Board of each Company and based
on the recommendation from the management and advisors of the Companies, it is desirable and in the best
interests of each Company, its creditors, and other parties-in-interest that such Company shall be, and
hereby is, authorized to file or cause to be filed its Chapter 11 Case under the chapter 11 reorganization
provisions of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) in the
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United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”) or other
court of competent jurisdiction; and

         RESOLVED, that each of the President (with respect to each Company on Schedule 1 through
Schedule 3), the Chief Executive Officer, the Chief Financial Officer, the Chief Transaction Officer, the
Secretary (with respect to each Company on Schedule 1 through Schedule 3), the Assistant Secretary (with
respect to the Company on Schedule 4), and any other officer designated by the Chief Executive Officer
or Chief Financial Officer, of each Company (each, an “Authorized Officer” and, collectively,
the “Authorized Officers”), acting alone or with one or more other Authorized Officers, with power of
delegation, be, and each of them hereby is, authorized, empowered, and directed to execute and file on
behalf of such Company all petitions, schedules, lists, and other motions, objections, replies, applications,
papers, or documents, and to take any and all action that they deem necessary, appropriate, or desirable to
obtain such relief, including, without limitation, any action necessary, appropriate, or desirable to maintain
the ordinary course operation of such Company’s businesses or to assist such Company in the Chapter 11
Cases and in carrying out its duties under the provisions of the Bankruptcy Code.

                                        Retention of Professionals

        NOW, THEREFORE, BE IT:

         RESOLVED, that each of the Authorized Officers of each Company, acting alone or with one or
more other Authorized Officers, with power of delegation, be, and each of them hereby is, authorized,
empowered, and directed to employ the law firm of Kirkland & Ellis LLP and Kirkland & Ellis International
LLP (together, “Kirkland”), as general bankruptcy counsel, to represent and assist each Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance such
Company’s rights and obligations, including filing any motions, objections, replies, applications, or
pleadings; and in connection therewith, each of the Authorized Officers, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause
to be filed an appropriate application for authority to retain Kirkland in accordance with applicable law;

        RESOLVED, that each of the Authorized Officers of each Company, acting alone or with one or
more other Authorized Officers, with power of delegation, be, and each of them hereby is, authorized,
empowered, and directed to employ the firm of Evercore Group L.L.C. (“Evercore”), as financial advisor
and investment banker, to represent and assist each Company in carrying out its duties under the Bankruptcy
Code, and to take any and all actions to advance such Company’s rights and obligations; and in connection
therewith, each of the Authorized Officers is, with power of delegation, hereby authorized and directed to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain Evercore in accordance with applicable law;

         RESOLVED, that each of the Authorized Officers of each Company, acting alone or with one or
more other Authorized Officers, with power of delegation, be, and each of them hereby is, authorized,
empowered, and directed to employ the firm of FTI Consulting, Inc. (“FTI”), as restructuring advisor, to
represent and assist each Company in carrying out its duties under the Bankruptcy Code, and to take any
and all actions to advance such Company’s rights and obligations; and in connection therewith, each of the
Authorized Officers is, with power of delegation, hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain FTI in accordance with applicable law;

       RESOLVED, that each of the Authorized Officers of each Company, acting alone or with one or
more other Authorized Officers, with power of delegation, be, and each of them hereby is, authorized,
empowered, and directed to employ the firm of Communication Media Advisors, LLC (“CMA”), as


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telecom services consultant, to represent and assist each Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance such Company’s rights and obligations; and
in connection therewith, each of the Authorized Officers is, with power of delegation, hereby authorized
and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed
an appropriate application for authority to retain CMA in accordance with applicable law;

         RESOLVED, that each of the Authorized Officers of each Company, acting alone or with one or
more other Authorized Officers, with power of delegation, be, and each of them hereby is, authorized,
empowered, and directed to employ the firm of KPMG LLP (“KPMG”), as auditors and tax consultants, to
represent and assist each Company in carrying out its duties under the Bankruptcy Code, and to take any
and all actions to advance such Company’s rights and obligations; and in connection therewith, each of the
Authorized Officers is, with power of delegation, hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain KPMG in accordance with applicable law;

         RESOLVED, that each of the Authorized Officers of each Company, acting alone or with one or
more other Authorized Officers, with power of delegation, be, and each of them hereby is, authorized,
empowered, and directed to employ the firm of Prime Clerk LLC (“Prime Clerk”), as notice and claims
agent, to represent and assist each Company in carrying out its duties under the Bankruptcy Code, and to
take any and all actions to advance such Company’s rights and obligations; and in connection therewith,
each of the Authorized Officers, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of Prime Clerk in accordance with applicable law;

        RESOLVED, that each of the Authorized Officers of each Company, acting alone or with one or
more other Authorized Officers, with power of delegation, be, and each of them hereby is, authorized,
empowered, and directed to employ any other professionals to assist each Company in carrying out its
duties under the Bankruptcy Code; and in connection therewith, each of the Authorized Officers, with
power of delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the services
of any other professionals as necessary; and

        RESOLVED, that each of the Authorized Officers of each Company, acting alone or with one or
more other Authorized Officers, with power of delegation, be, and each of them hereby is, authorized,
empowered, and directed to execute and file all petitions, schedules, motions, objections, replies,
applications, pleadings, lists, and other papers and, in connection therewith, to employ and retain all
assistance by legal counsel, accountants, investment bankers, financial advisors, restructuring advisors, and
other professionals and to take and perform any and all further acts and deeds that each of the Authorized
Officers deem necessary, proper, or desirable in connection with each Company’s Chapter 11 Case, with a
view to the successful prosecution of the case.

                      Interim Order, Final DIP Order, and Adequate Protection

        WHEREAS, each Company will obtain benefits from the DIP Financing; and

         WHEREAS, in order to use and obtain the benefits of the DIP Financing, and in accordance with
section 363 of the Bankruptcy Code, the Companies will provide certain adequate protection to those certain
prepetition secured lenders (collectively, the “Secured Lenders”) party to (i) that certain First Amended and
Restated Credit Agreement, dated as of February 27, 2017 (as amended, restated, amended and restated,
modified, or supplemented from time to time), by and among Frontier, as borrower, the subsidiary
guarantors party thereto, JPMorgan Chase Bank, N.A., in its capacity as administrative agent, and the


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lenders thereto, (ii) that certain Indenture, dated as of March 15, 2019 (as amended, restated, amended and
restated, modified, or supplemented from time to time), by and among Frontier, as issuer, the subsidiary
guarantors party thereto, JPMorgan Chase Bank, N.A., in its capacity as collateral agent, and The Bank of
New York Mellon, in its capacity as trustee, and (iii) that certain Indenture, dated as of March 19, 2018 (as
amended, restated, amended and restated, modified, or supplemented from time to time), by and among
Frontier, as issuer, the subsidiary guarantors party thereto, and The Bank of New York Mellon, in its
capacity as trustee and collateral agent (the “Adequate Protection Obligations”), as documented in the
proposed Interim Order (A) Granting Adequate Protection to the Prepetition Secured Parties,
(B) Modifying the Automatic Stay, (C) Scheduling a Final Hearing, and (D) Granting Related Relief and
proposed final order (respectively, the “Interim Order” and the “Final DIP Order”) and submitted for
approval to the Bankruptcy Court.

        NOW, THEREFORE, BE IT:

         RESOLVED, that the form, terms, and provisions of the Interim Order and Final DIP Order to
which each Company is or will be subject, as applicable, and the actions and transactions contemplated
thereby are authorized, adopted, and approved, and each of the Authorized Officers of each Company,
acting alone or with one or more other Authorized Officers, with power of delegation, be, and each of them
hereby is, authorized and empowered, in the name of and on behalf of such Company, to take such actions
and negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and cause the
performance of, the Interim Order and the Final DIP Order, as applicable, and such other agreements,
certificates, instruments, receipts, petitions, motions, or other papers or documents to which such Company
is or will be a party, including, but not limited to, any security and pledge agreement or guaranty agreement
(collectively with the Final DIP Order, the “DIP Order Documents”), incur and pay or cause to be paid all
fees and expenses and engage such persons, in each case, in the form or substantially in the form thereof
submitted to the Boards, with such changes, additions, and modifications thereto as the Authorized Officer
of such Company executing the same shall approve, such approval to be conclusively evidenced by such
Authorized Officer’s execution and delivery thereof;

         RESOLVED, that each Company, as a debtor and debtor in possession under the Bankruptcy Code
be, and hereby is, authorized to incur the Adequate Protection Obligations, and to undertake any and all
related transactions on substantially the same terms as contemplated under the DIP Order Documents
(collectively, the “DIP Order Transactions”), including granting liens on its assets to secure such
obligations;

         RESOLVED, that each of the Authorized Officers of each Company, acting alone or with one or
more other Authorized Officers, with power of delegation, be, and each of them hereby is, authorized,
empowered, and directed, in the name of and on behalf of such Company, as a debtor and debtor in
possession, to take such actions as in his or her discretion is determined to be necessary, desirable, or
appropriate and execute the DIP Order Transactions, including delivery of: (a) the DIP Order Documents
and such agreements, certificates, instruments, guaranties, notices, and any and all other documents,
including, without limitation, any amendments to any DIP Order Documents (collectively, the “DIP Order
Financing Documents”); (b) such other instruments, certificates, notices, assignments, and documents as
may be reasonably requested by the agents; and (c) such forms of account control agreements, officer’s
certificates, and compliance certificates as may be required by the DIP Order Documents or any other DIP
Order Financing Document;

         RESOLVED, that each of the Authorized Officers of each Company, acting alone or with one or
more other Authorized Officers, with power of delegation, be, and each of them hereby is, authorized,
empowered, and directed, in the name of and on behalf of such Company, to file or to authorize the agents
to file any Uniform Commercial Code (the “UCC”) financing statements, any other equivalent filings, any


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intellectual property filings and recordation and any necessary assignments for security or other documents
in the name of such Company that the agents deem necessary or appropriate to perfect any lien or security
interest granted under the Interim Order and the Final DIP Order, including any such UCC financing
statement containing a generic description of collateral, such as “all assets,” “all property now or hereafter
acquired,” and other similar descriptions of like import, and to execute and deliver, and to record or
authorize the recording of, such mortgages and deeds of trust in respect of real property of such Company
and such other filings in respect of intellectual and other property of such Company, in each case as the
agents may reasonably request to perfect the security interests of the agents under the Interim Order and
the Final DIP Order; and

         RESOLVED, that each of the Authorized Officers of each Company, acting alone or with one or
more other Authorized Officers, with power of delegation, be, and each of them hereby is, authorized,
empowered, and directed, in the name of and on behalf of such Company, to take all such further actions,
including, without limitation, to pay or approve the payment of all fees and expenses payable in connection
with the DIP Order Transactions and all fees and expenses incurred by or on behalf of such Company in
connection with the foregoing resolutions, in accordance with the terms of the DIP Order Financing
Documents, which shall in their sole judgment be necessary, proper, or advisable to perform such
Company’s obligations under or in connection with the Interim Order and the Final DIP Order or any of
the other DIP Order Financing Documents and the transactions contemplated therein and to carry out fully
the intent of the foregoing resolutions.

                                     Debtor-In-Possession Financing

         WHEREAS, on April 14, 2020, Frontier, certain domestic subsidiaries of Frontier party thereto as
guarantors and certain other commitment parties party thereto entered into a binding Commitment Letter
(the “Commitment Letter”) that contemplates the terms and conditions of the DIP Financing and Exit
Financing and attaches as an exhibit the form Senior Secured Superpriority Debtor-In-Possession Credit
Agreement, among Frontier, as the borrower and a debtor and debtor-in-possession under chapter 11 of the
Bankruptcy Code, Goldman Sachs Bank USA, as administrative agent (the “DIP Agent”), and the lenders
from time to time party thereto (the “DIP Lenders”) (the “DIP Financing Credit Agreement”), to become
effective upon entry of the Final DIP Order;

         WHEREAS, Frontier has requested that the DIP Lenders provide senior secured
debtor-in-possession credit facilities (the “DIP Facilities”) to Frontier pursuant to the DIP Financing Credit
Agreement that are automatically convertible into a secured exit facility upon the satisfaction (or waiver)
of certain conditions in the DIP Financing Credit Agreement;

         WHEREAS, Frontier and each Company listed on Schedule 2 attached hereto (each, a “Loan
Party,” and collectively, the “Loan Parties”) will obtain benefits from the incurrence of the DIP Obligations
(as defined herein), and it is advisable and in the best interest of each Loan Party to enter into the DIP Loan
Documents (as defined herein), and to perform its obligations thereunder; and

         WHEREAS, the obligations of the DIP Lenders to make the extensions of credit to Frontier under
the DIP Facilities is subject to, among other things, Frontier having entered into the Commitment Letter
and entering into the DIP Financing Credit Agreement with the DIP Agent and the DIP Lenders
(collectively, with any other documents and agreements related thereto or contemplated thereunder,
including any documents, instruments, or certificates as may be reasonably required by the DIP Agent, the
“DIP Loan Documents”), and otherwise satisfying certain conditions in connection therewith
(the obligations thereunder, the “DIP Obligations”).




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        NOW, THEREFORE, BE IT:

        RESOLVED, that the DIP Financing and the form, terms, and provisions of the DIP Loan
Documents of each Loan Party, and the transactions contemplated thereunder (including, without limitation,
the borrowings and the incurrence of the DIP Obligations thereunder), and the guaranties, liabilities,
obligations, security interest granted, and notes issued, if any, in connection therewith, be and hereby are
authorized, adopted, and approved, subject to such changes, additions, and modifications thereto as an
Authorized Officer executing the same shall approve, such approval to be conclusively evidenced by an
Authorized Officer’s execution and delivery thereof;

         RESOLVED, that each Loan Party will obtain benefits from the DIP Financing and its entry into
the DIP Loan Documents and incurrence and performance of the DIP Obligations thereunder, and it is
advisable and in the best interests of each Loan Party to enter into the DIP Loan Documents, and to perform
its obligations thereunder;

        RESOLVED, that each Loan Party shall be, and hereby is, authorized to enter into the DIP Loan
Documents and incur the DIP Obligations, and each of the Authorized Officers of each Loan Party, acting
alone or with one or more Authorized Officers of such Loan Party, be, and each of them hereby is,
authorized and empowered, in the name and on behalf of such Loan Party, to execute and deliver the DIP
Loan Documents, with such changes, additions, and modifications thereto as such Authorized Officer
executing the same shall approve, such approval to be conclusively evidenced by such Authorized Officer’s
execution and delivery thereof;

         RESOLVED, that each of the Authorized Officers of each Loan Party, as applicable, acting alone
or with one or more Authorized Officers, with power of delegation, be, and each of them hereby is,
authorized, in the name and on behalf of such Loan Party, to take all such further actions, or cause all such
further actions to be taken and to execute and deliver all such further agreements, documents, instruments,
certificates recordings, and filings, in the name and on behalf of such Loan Party and under its corporate
seal or otherwise, as in the determination of such Authorized Officer shall be necessary, proper, or advisable
in order to fully carry out the intent and accomplish the purposes of the foregoing resolutions and to
consummate the transactions contemplated thereby, such authority to be conclusively evidenced by the
execution of any document or the taking of any such action by such Authorized Officer.

        RESOLVED, that each of the Authorized Officers of each Loan Party, as applicable, acting alone
or with one or more Authorized Officers, with power of delegation, be, and each of them hereby is,
authorized, in the name and on behalf of such Loan Party, to enter into any guarantees as described or
contemplated by the DIP Loan Documents or any other documents, certificates, instruments, agreements,
intercreditor agreements, any extension amendment, any incremental agreement, or any other amendment
required to consummate the transactions contemplated by the DIP Loan Documents and perform its
obligations thereunder and to guarantee the payment and performance of the DIP Obligations of Frontier
and any other guarantor thereunder;

         RESOLVED, that each of the Authorized Officers of each Loan Party, as applicable, acting alone
or with one or more Authorized Officers, with power of delegation, be, and each of them hereby is,
authorized, empowered, and directed in the name of, and on behalf of, such Loan Party to seek authorization
to incur the DIP Obligations and to seek approval of the use of cash collateral pursuant to the postpetition
Final DIP Order, and any Authorized Officer, with power of delegation, be, and hereby is, authorized,
empowered, and directed to negotiate, execute, and deliver any and all agreements, instruments, or
documents, by or on behalf of such Loan Party, necessary to implement the postpetition financing, including
the Adequate Protection Obligations to the Secured Lenders in accordance with section 363 of the
Bankruptcy Code, as well as any additional or further agreements for entry into the DIP Loan Documents


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and the use of cash collateral in connection with each Loan Party’s Chapter 11 Cases, which agreements
may require each Loan Party to grant adequate protection and liens to the Secured Lenders and each other
agreement, instrument, or document to be executed and delivered in connection therewith, by or on behalf
of each Loan Party pursuant thereto or in connection therewith, all with such changes therein and additions
thereto as any Authorized Officer approves, such approval to be conclusively evidenced by the taking of
such action or by the execution and delivery thereof;

        RESOLVED, that each of the Authorized Officers of each Loan Party or other officer of each Loan
Party, as applicable, acting alone or with one or more Authorized Officers, with power of delegation, be,
and each of them hereby is, authorized, empowered, and directed, in the name of and on behalf of such
Loan Party, to take such actions and negotiate or cause to be prepared and negotiated and to execute, deliver,
perform, and cause the performance of, each of the transactions contemplated by the DIP Loan Documents
and such other agreements, certificates, instruments, receipts, petitions, motions, or other papers or
documents to which each Loan Party is or will be a party or any order entered into in connection with the
Chapter 11 Cases (together with the DIP Loan Documents, the “DIP Financing Documents”), incur and pay
or cause to be paid all related fees and expenses, with such changes, additions and modifications thereto as
an Authorized Officer executing the same shall approve;

        RESOLVED, that each Loan Party, as debtor and debtor-in-possession under the Bankruptcy Code
be, and hereby is, authorized, empowered, and directed to incur any and all obligations and to undertake
any and all related transactions on substantially the same terms as contemplated under the DIP Financing
Documents, including granting liens on its assets to secure such obligations; and


         RESOLVED, that each of the Authorized Officers of each Loan Party, as applicable, acting alone
or with one or more Authorized Officers, with power of delegation, be, and each of them hereby is,
authorized, empowered, and directed in the name of, and on behalf of, such Loan Party, to execute and
deliver any amendments, supplements, modifications, renewals, replacements, consolidations,
substitutions, and extensions of the postpetition financing or any of the DIP Financing Documents or to do
such other things which shall in his or her sole judgment be necessary, desirable, proper, or advisable in
order to perform such Loan Party’s DIP Obligations and to give effect to the foregoing resolutions, which
determination shall be conclusively evidenced by his or her or their execution thereof.

                                              Exit Financing

        WHEREAS, the respective Board of each Company deems it advisable and in the best interests of
such Company, its creditors and other parties-in-interest that such Company enter into a certain credit
agreement in connection with emergence from its Chapter 11 Case (the “Exit Financing Credit
Agreement”) and grant security interests and/or guarantees in relation thereto, whereby the DIP Financing
Credit Agreement and the DIP Financing thereto is automatically converted into the Exit Financing Credit
Agreement and the Exit Financing thereto upon the satisfaction (or waiver) of certain conditions, for the
purposes of providing ongoing financing to the Companies via a revolving loan facility;

         WHEREAS, each Company, by entering into the Exit Financing, will receive direct and indirect
benefits from the transactions contemplated by the Exit Financing Credit Agreement, the terms and
conditions of which were negotiated in a prepetition Exit Financing term sheet and have been previously
reviewed by the respective Board of each Company and consequently, such Company desires to enter into
(i) the Exit Financing Credit Agreement, (ii) any related documents, and (iii) to the extent such Company
is a party thereto, the Additional Credit Documents (as defined below) (collectively, the “Exit Financing
Credit Documents”) and the transactions contemplated thereby; and




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         WHEREAS, the respective Board of each Company deems the execution and delivery of the Exit
Financing Credit Documents and the transactions consummated thereby, to be desirable, advisable, and in
the bests interests of such Company.

        NOW, THEREFORE, BE IT:

         RESOLVED, that the execution and delivery of the Exit Financing Credit Documents (and the
incurrence of the obligations thereunder) by each Company, as applicable, in the form substantially
consistent with the Exit Financing term sheet previously submitted to the respective Board of such
Company, and the consummation of the transactions contemplated thereunder by such Company, including
(i) the execution, delivery and performance of all other agreements, instruments, documents, notices, or
certificates constituting exhibits to or that may be required, necessary, appropriate, desirable, or advisable
to be executed and delivered pursuant to the Exit Financing Credit Documents or otherwise permitted
thereunder or related thereto, including interest rate, currency, or commodity hedging arrangements (each,
an “Additional Credit Document” and collectively, the “Additional Credit Documents”), (ii) any granting
of security interests and/or guarantees in relation thereto, and (iii) the making of representations and
compliance with the covenants thereunder and the assumption of any obligations under and in respect of
any of the foregoing, are hereby authorized and approved, and that each of the Authorized Officers of each
Company, as applicable, acting alone or with one or more Authorized Officers, with power of delegation,
be, and each of them hereby is, severally authorized, empowered, and directed in the name of, and on behalf
of, such Company, to execute and deliver each Exit Financing Credit Document to which such Company
is a party, with such changes therein and additions thereto as any such Authorized Officer, in his or her sole
discretion, may deem necessary, convenient, appropriate, advisable, or desirable, the execution and delivery
of such Exit Financing Credit Documents and with any changes thereto by any such Authorized Officer, to
be conclusive evidence that such Authorized Officer deemed such changes to meet such standard;

        RESOLVED, that, as used herein, the term “Additional Credit Documents” shall include, but not
be limited to any intercreditor agreements and all other documents, certificates, or agreements necessary,
proper, or advisable to consummate the transactions contemplated by the Exit Financing Credit Documents,
including, without limitation, any note, fee letter, guarantee agreement, security agreement, mortgage,
pledge, intellectual property security interest agreement, intellectual property security agreement, or other
documentation similar to any of the foregoing; and

         RESOLVED, that each of the Authorized Officers of each Company, as applicable, acting alone or
with one or more Authorized Officers, with power of delegation, be, and each of them hereby is, severally
authorized in the name of, and on behalf of, such Company, to take all actions including, without limitation,
(i) the negotiation, execution, delivery, and filing of any agreements, certificates, instruments, or documents
(including mortgages, financing statements, and similar documents), (ii) the modification, restatement, or
amendment of any of the terms and conditions of any Exit Financing Credit Document, (iii) the payment
of any consideration, and (iv) the payment of indemnitees, fees, costs, expenses, and taxes as any such
Authorized Officer, in his or her sole discretion, may deem necessary, appropriate, or advisable (such acts
to be conclusive evidence that such Authorized Officer deemed the same to meet such standard) in order to
effect the transactions contemplated under any Exit Financing Credit Document, and all acts of any such
Authorized Officer taken pursuant to the authority granted herein, or having occurred prior to the date
hereof in order to effect such transactions, are hereby approved, adopted, ratified, and confirmed in all
respects.




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                                      No Termination of Existence

        NOW, THEREFORE, BE IT:

         RESOLVED, that notwithstanding any provision in the governing documents of any Company, no
Company shall be automatically dissolved, nor shall any member or partner of any Company be
disassociated, upon the filing of the voluntary petitions or any action taken in accordance with these
resolutions.

       Appointment of Carlin Adrianopoli as Executive Vice President of Strategic Planning

        WHEREAS, the Companies are in negotiations with various of their creditors in an effort to reach
a consensual restructuring solution that maximizes the value of each Company for all stakeholders through
the Restructuring Transactions; and

       WHEREAS, each Company listed on Schedule 1 and Schedule 2 desires to retain Carlin
Adrianopoli as Executive Vice President of Strategic Planning for such Company, effective as of the date
upon which the Chapter 11 Cases are filed, to further the Restructuring Transactions.

        NOW, THEREFORE, BE IT:

        RESOLVED, that the respective Board of each Company listed on Schedule 1 and Schedule 2
hereby appoints Mr. Adrianopoli, effective as of the date upon which the Chapter 11 Cases are filed, as
such Company’s Executive Vice President of Strategic Planning for the purpose of performing the duties
and responsibilities of an Executive Vice President and such other duties and responsibilities as may be
determined by such Board to be reasonably related thereto; and

        RESOLVED, that each of the Authorized Officers of each Company on Schedule 1 and Schedule 2
(and their designees and delegates), acting alone or with one or more other Authorized Officers, be, and
each of them hereby is, authorized to enter into and execute, on behalf of such Company, (i) any
employment agreement with Mr. Adrianopoli to ratify such appointment and/or (ii) such other employment
arrangements as may be reasonably related to such appointment.

                                           General Resolutions

        NOW, THEREFORE, BE IT:

         RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Officers, each of the Authorized Officers (and their designees and delegates) be, and hereby is,
authorized and empowered, in the name of and on behalf of each Company, to take or cause to be taken
any and all such other and further action, or to not take any action, and to execute, acknowledge, deliver,
and file any and all such agreements, certificates, instruments, and other documents and to pay all expenses,
including but not limited to filing fees, in each case as in such Authorized Officer’s judgment, shall be
necessary, advisable, or desirable in order to fully carry out the intent and accomplish the purposes of the
resolutions adopted herein;

         RESOLVED, that each Company and the respective Board of each Company has received
sufficient notice of the actions and transactions relating to the matters contemplated by the foregoing
resolutions, as may be required by the organizational documents of such Company, or hereby waives any
right to have received such notice;




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         RESOLVED, that all acts, actions, and transactions relating to the matters contemplated by the
foregoing resolutions done in the name of and on behalf of each Company, which acts would have been
approved by the foregoing resolutions except that such acts were taken before the adoption of these
resolutions, are hereby in all respects approved and ratified as the true acts and deeds of such Company
with the same force and effect as if each such act, transaction, agreement, or certificate has been specifically
authorized in advance by resolution of the respective Board of each Company;

        RESOLVED, that to the extent any Company serves as the sole member, general partner, managing
member, equivalent manager, or other governing body (each, a “Controlling Company”) of any other
Company (each, a “Controlled Company”), each Authorized Officer of such Controlling Company, as
applicable, is authorized, empowered and directed to take each of the actions described in these resolutions
or any of the actions authorized by these resolutions on behalf of each such applicable Controlled Company;
and

         RESOLVED, that the respective Board of each Company hereby adopts, as if expressly set forth
herein, the form of any resolution required by any authority to be filed in connection with any applications,
consents to service, issuer’s covenants or other documents if (i) in the opinion of any Authorized Officers
(or his or her designees and delegates) executing the same, the adoption of such resolutions is necessary or
desirable and (ii) the Secretary of such Company evidences such adoption by inserting in the minutes of
this meeting copies of such resolutions, which will thereupon be deemed to be adopted by such Board with
the same force and effect as if presented at this meeting.


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                                              Schedule 1

1.    Citizens Capital Ventures Corp., a Delaware corporation

2.    Citizens Directory Services Company L.L.C., a Delaware limited liability company

3.    Citizens Louisiana Accounting Company, a Delaware corporation

4.    Citizens Newcom Company, a Delaware corporation

5.    Citizens Newtel, LLC, a Delaware limited liability company

6.    Citizens Pennsylvania Company LLC, a Delaware limited liability company

7.    Citizens SERP Administration Company, a Delaware corporation

8.    Citizens Telecom Services Company L.L.C., a Delaware limited liability company

9.    Citizens Telecommunications Company of California Inc., a California corporation

10.   Citizens Telecommunications Company of Idaho, a Delaware corporation

11.   Citizens Telecommunications Company of Illinois, an Illinois corporation

12.   Citizens Telecommunications Company of Montana, a Delaware corporation

13.   Citizens Telecommunications Company of Nebraska, a Delaware corporation

14.   Citizens Telecommunications Company of Nebraska LLC, a Delaware limited liability company

15.   Citizens Telecommunications Company of Nevada, a Nevada corporation

16.   Citizens Telecommunications Company of New York, Inc., a New York Corporation

17.   Citizens Telecommunications Company of Oregon, a Delaware corporation

18.   Citizens Telecommunications Company of the White Mountains, Inc., a Delaware corporation

19.   Citizens Telecommunications Company of West Virginia, a West Virginia corporation

20.   Citizens Utilities Capital L.P., a Delaware limited partnership

21.   Citizens Utilities Rural Company, Inc., a Delaware corporation

22.   Commonwealth Communication, LLC, a Delaware limited liability company

23.   Commonwealth Telephone Company LLC, a Pennsylvania limited liability company

24.   Commonwealth Telephone Enterprises, LLC, a Delaware limited liability company

25.   Commonwealth Telephone Management Services, Inc., a Pennsylvania corporation
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26.   CTE Holdings, Inc., a Pennsylvania corporation

27.   CTE Services, Inc., a Pennsylvania corporation

28.   CTE Telecom, LLC, a Pennsylvania limited liability company

29.   CTSI, LLC, a Pennsylvania limited liability company

30.   CU Capital LLC, a Delaware limited liability company

31.   CU Wireless Company LLC, a Delaware limited liability company

32.   Electric Lightwave NY, LLC, a Delaware limited liability company

33.   Evans Telephone Holdings, Inc., a Delaware corporation

34.   Fairmount Cellular LLC, a Georgia limited liability company

35.   Frontier ABC LLC, a Delaware limited liability company

36.   Frontier California Inc., a California corporation

37.   Frontier Communications - Midland, Inc., an Illinois corporation

38.   Frontier Communications - Prairie, Inc., an Illinois corporation

39.   Frontier Communications - Schuyler, Inc., an Illinois corporation

40.   Frontier Communications Corporate Services Inc., a Delaware corporation

41.   Frontier Communications ILEC Holdings LLC, a Delaware limited liability company

42.   Frontier Communications of America, Inc., a Delaware corporation

43.   Frontier Communications of Ausable Valley, Inc., a New York corporation

44.   Frontier Communications of Breezewood, LLC, a Pennsylvania limited liability company

45.   Frontier Communications of Canton, LLC, a Pennsylvania limited liability company

46.   Frontier Communications of Delaware, Inc., a Delaware corporation

47.   Frontier Communications of Depue, Inc., an Illinois corporation

48.   Frontier Communications of Georgia LLC, a Georgia limited liability company

49.   Frontier Communications of Illinois, Inc., an Illinois corporation

50.   Frontier Communications of Indiana LLC, an Indiana limited liability company

51.   Frontier Communications of Lakeside, Inc., an Illinois corporation
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52.   Frontier Communications of Lakewood, LLC, a Pennsylvania limited liability company

53.   Frontier Communications of Michigan, Inc., a Michigan corporation

54.   Frontier Communications of Mississippi LLC, a Mississippi limited liability company

55.   Frontier Communications of Mt. Pulaski, Inc., an Illinois corporation

56.   Frontier Communications of New York, Inc., a New York corporation

57.   Frontier Communications of Orion, Inc., an Illinois corporation

58.   Frontier Communications of Oswayo River LLC, a Pennsylvania limited liability company

59.   Frontier Communications of Pennsylvania, LLC, a Pennsylvania limited liability company

60.   Frontier Communications of Rochester, Inc., a Delaware corporation

61.   Frontier Communications of Seneca-Gorham, Inc., a New York corporation

62.   Frontier Communications of Sylvan Lake, Inc., a New York corporation

63.   Frontier Communications of the Carolinas LLC, a Delaware limited liability company

64.   Frontier Communications of the South, LLC, an Alabama limited liability company

65.   Frontier Communications of the Southwest Inc., a Delaware corporation

66.   Frontier Communications of Thorntown LLC, an Indiana limited liability company

67.   Frontier Communications of Virginia, Inc., a Virginia corporation

68.   Frontier Communications Online and Long Distance Inc., a Delaware corporation

69.   Frontier Communications Services Inc., an Arizona corporation

70.   Frontier Directory Services Company, LLC, a Delaware limited liability company

71.   Frontier Infoservices Inc., a Connecticut corporation

72.   Frontier Midstates Inc., a Georgia corporation

73.   Frontier Mobile LLC, a Delaware limited liability company

74.   Frontier North Inc., a Wisconsin corporation

75.   Frontier Security Company, a Delaware corporation

76.   Frontier Subsidiary Telco LLC, a Delaware limited liability company

77.   Frontier Techserv, Inc., a Delaware corporation
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78.   Frontier West Virginia Inc., a West Virginia corporation

79.   GVN Services, a California corporation

80.   Navajo Communications Co., Inc., a New Mexico corporation

81.   N C C Systems, Inc., a Texas corporation

82.   Newco West Holdings LLC, a Delaware limited liability company

83.   Ogden Telephone Company, a New York corporation

84.   Phone Trends, Inc., a New York corporation

85.   Rhinelander Telecommunications, LLC, a Wisconsin limited liability company

86.   Rib Lake Cellular for Wisconsin RSA #3, Inc., a Wisconsin corporation

87.   Rib Lake Telecom, Inc., a Wisconsin corporation

88.   SNET America, Inc., a Connecticut corporation

89.   TCI Technology & Equipment LLC, a Delaware limited liability company

90.   The Southern New England Telephone Company, a Connecticut corporation

91.   Total Communications, Inc., a Connecticut corporation
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                                             Schedule 2

1.    Citizens Telecommunications Company of Minnesota, LLC, a Delaware limited liability
      company

2.    Citizens Telecommunications Company of Tennessee L.L.C., a Delaware limited liability
      company

3.    Citizens Telecommunications Company of Utah, a Delaware corporation

4.    Frontier Communications Corporation, a Delaware corporation

5.    Frontier Communications Northwest Inc., a Washington corporation

6.    Frontier Communications of Iowa, LLC, an Iowa limited liability company

7.    Frontier Communications of Minnesota, Inc., a Minnesota corporation

8.    Frontier Communications of Wisconsin LLC, a Wisconsin limited liability company

9.    Frontier Florida LLC, a Florida limited liability company

10.   Frontier Southwest Incorporated, a Delaware corporation

11.   Frontier Video Services Inc., a Delaware corporation
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                                            Schedule 3

1.    Frontier Services Corp., a Delaware corporation
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                                           Schedule 4

1.    Frontier Telephone of Rochester, Inc., a New York corporation
